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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNICOLORS INC.,

                                        Plaintiff and                    19 MC 574 (PAE)
                                        Judgment Creditor,
                        -v-                                                   ORDER

 CALESSA SPORTSWEAR
 INTERNATIONAL, LLC,

                                        Defendant and
                                        Judgment Debtor,

                        and

 DILLARD’S, INC.,

                                        Third Party
                                        Custodian.


PAUL A. ENGELMAYER, District Judge:

       The Court has received plaintiff Unicolors Inc.’s (“Unicolors”) motion to compel third

party custodian Dillard’s, Inc. (“Dillard’s”) to turn over funds it holds in accounts for defendant

Calessa Sportswear International, LLC (“Calessa”). Dkts. 2–4.

       Dillard’s opposition to the motion, if any, is due November 18, 2020. Unicolors is

directed to serve this order on both Dillard’s and Calessa by November 4, 2020 and to file

forthwith proof of such service.

       SO ORDERED.


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                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: November 2, 2020
       New York, New York
